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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 THE ESTATE OF AARON BAILEY by Personal )
 Representative Stacey Bailey,                 )
                                               )
                             Plaintiff,        )
                                               )
                          v.                   )                No. 1:17-cv-03352-RLY-TAB
                                               )
 CITY OF INDIANAPOLIS,                         )
 INDIANAPOLIS METROPOLITAN POLICE              )
 DEPARTMENT,                                   )
 CARLTON HOWARD Officer, in his individual )
 and official capacities,                      )
 MICHAL DINNSEN Officer, in his individual and )
 individual capacities,                        )
                                               )
                             Defendants.       )

           ORDER ON APRIL 17, 2018, PRETRIAL CONFERENCE AND
    ORDER SETTING SETTLEMENT CONFERENCE AND RELATED DEADLINES

        Plaintiff appeared by counsel April 17, 2018, for a pretrial conference. Defendants failed

 to appear as ordered. Defendants’ counsel shall show cause by May 3, 2018, why sanctions

 should not issue for their failure to appear for the April 17 pretrial conference.

        This matter is set for a settlement conference at 9 a.m. on June 25, 2018, room #234,

 United States Courthouse, 46 East Ohio Street, Indianapolis, Indiana, before Magistrate Judge

 Tim A. Baker. Unless excused by order of the Court, clients must appear in-person at the

 settlement conference along with counsel. With respect to corporate, governmental, and

 other organizational entities, an authorized client representative with authority to negotiate

 and communicate a settlement must appear in-person at the settlement conference along

 with their counsel. Under no circumstances will counsel of record be deemed to be the proper

 client representative for settlement purposes. Any insurance company that is a party, or is

 contractually required to defend or indemnify any party, in whole or in part, must also have a
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 fully authorized settlement representative present at the conference. All persons entering the

 United States Courthouse must have photo identification.

        Client representatives for all parties must have final settlement authority without

 consulting someone else who is not present. This means that parties should not need or expect to

 contact others, who are not present at the conference, to discuss or modify settlement authority.

 If such a person exists who would need to be consulted, that party must be present at the

 settlement conference. The Court recognizes that for some corporate and governmental entities,

 and a limited number of other organizational entities with multi-layered approval procedures,

 additional approvals may be required to formally approve a settlement. However, parties and

 their counsel in these limited situations must exercise all possible good faith efforts to ensure that

 the representative(s) present at the settlement conference provides the maximum feasible

 authority and the best possible opportunity to resolve the case. No other persons are permitted to

 attend the settlement conference without leave of Court.

        Three business days before the scheduled conference, the parties shall submit (not

 file) to the Magistrate Judge a confidential settlement statement setting forth a brief

 statement of: (1) relevant facts, including any key facts that the party believes are admitted or in

 dispute; (2) damages, including any applicable back pay, mitigation, compensatory and/or

 punitive damages, or any other special damages; and (3) any pending or anticipated dispositive

 or other substantive motions. The confidential settlement statement should not exceed five,

 double-spaced pages, and submission of exhibits should be kept to a minimum.

        No later than fourteen days prior to the settlement conference, Plaintiff(s) shall

 serve an updated settlement proposal on Defendant(s), who shall serve an updated response

 no later than seven days before the settlement conference. The parties shall submit (not

 file) to the Magistrate Judge courtesy copies of their respective proposal and response at
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 the time of service. Counsel may submit confidential settlement statements and copies of their

 settlement proposal/response to the undersigned via mail, fax (317-229-3664) or email

 (MJBaker@insd.uscourts.gov).

        A request to vacate or continue the settlement conference or otherwise depart from this

 order shall be done by motion filed with the Court two weeks prior to the conference, except in

 exigent circumstances. Such motion will be granted only for good cause. Failure to comply with

 any of the provisions in this order may result in sanctions.

        Date: 4/26/2018



                                           _______________________________
                                          Tim A. Baker
                                          United States Magistrate Judge
                                          Southern District of Indiana




 All ECF-registered counsel of record via email
